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                  EXHIBIT 1
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           IN THE UNITED STATES DISTRICT COURT
            FOR THE WESTERN DISTRICT OF TEXAS
                  SAN ANTONIO DIVISION
                             )
  FRITX JOHN HOEFLEIN, III, )
  and RAUL SOLIS, III,       )
  Individually and on        ) CIVIL ACTION
  Behalf of all Others       )
  Similarly Situated,        ) NO.:
                             ) 5:19-cv-01194-FB-ESC
  VS.                        )
                             ) FLSA Collective Action
  CRESCENT DRILLING AND      )
  PRODUCTION, INC., and      )
  CRESCENT DRILLING          )
  FOREMAN, INC.,             )



 ORAL AND VIDEOTAPED DEPOSITION OF VICTOR MANUEL JUAREZ
                    January 19, 2022

      ORAL AND VIDEOTAPED DEPOSITION OF VICTOR MANUEL
 JUAREZ, produced as a witness at the instance of the
 DEFENDANT(S), and duly sworn, was taken in the
 above-styled and numbered cause on the 19th day of
 January, 2022, from 9:32 a.m. to 12:55 p.m., via Zoom,
 before Shauna L. Beach, in and for the State of Texas,
 reported by machine shorthand, at the law offices of
 Bruckner Burch, PLLC, 8 Greenway Plaza, Suite 1500,
 Houston Texas 77046, pursuant to the Federal Rules of
 Civil Procedure and the provisions stated on the record
 or attached hereto.
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 1                    A P P E A R A N C E S
 2   FOR THE PLAINTIFF:
 3        DAVID I. MOULTON
          Bruckner Burch, PLLC
 4        8 Greenway Plaza
          Suite 1500
 5        Houston, Texas 77046
          dmoulton@brucknerburch.com
 6
     FOR THE DEFENDANT:
 7
          BRIAN A. SMITH
 8        Seyfarth Shaw, LLP
          700 Milam Street
 9        Suite 1400
          Houston, Texas 77002
10        bsmith@seyfarth.com
11   ALSO PRESENT:
12        Brandi Pate, Videographer
          SB Company
13
           Lisa Africk (Appearing via Zoom)
14         General Counsel for Crescent
15         Scott McDonald (Appearing via Zoom)
           President and CEO for Crescent
16
           Larry Cress (Appearing via Zoom)
17
18
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24
25

                                   SB Company
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 1                    MR. SMITH:     Okay.
 2                    Are they making copies of that, Dave?
 3                    MR. MOULTON:      Yes.
 4                    MR. SMITH:     All right.      We'll come back to
 5   that when they're done making copies, then.
 6        Q.   (By Mr. Smith)       The farm, how do you get it
 7   your farm?
 8        A.   Driving from Laredo from my house to the farm.
 9        Q.   Okay.    If you drive there, you know the
10   address, right?
11                    MR. MOULTON:      Objection; form.
12        A.   Not -- no, sir.
13        Q.   (By Mr. Smith)       So your testimony is that you
14   do not know the address to your farm?
15        A.   Not the physical address.
16        Q.   Okay.    What do you know?        You said not the
17   physical address.        Is there something you do know?
18                    MR. MOULTON:      Objection; form.
19        A.   No, sir.
20        Q.   (By Mr. Smith)       What year did you start the
21   farm?
22        A.   I don't remember.
23        Q.   Was the farm around in 2015?
24        A.   No, not yet.      I believe not.       I didn't start --
25   no, I don't -- I don't remember.

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                                         REDACTED




            REDACTED
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                                     REDACTED
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 1   going to be a road to Loop 20.            There it is.      I think it
 2   is.    Yeah.
 3         Q.   Yep.    So 69 west, I-69?
 4         A.   Yeah.
 5         Q.   Okay.     What direction do you turn on that?
 6         A.   Left.
 7         Q.   So you're going this way now.
 8         A.   East.
 9         Q.   Okay.
10         A.   Yeah.     And just keep on all the way west.           And
11   then, is that 83?
12         Q.   Yes.
13         A.   Great.    Is it that way or is it this way?            It's
14   both ways.
15         Q.   Yeah.     Well, it goes north and south.
16         A.   It's going to go south.
17         Q.   Okay.
18         A.   Oh, no, that's 35 South.
19         Q.   It's the same highway.
20         A.   Oh.     Okay.   Okay.
21         Q.   83, 35.
22         A.   Okay.     Got it.
23         Q.   So you're south on State Highway 33 or I-35.
24         A.   Yeah.     Passed all that.       You passed Positano,
25   you passed Rio Bravo.          Oh, hold on.     Hilltop, I'm over

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 1   that.     So you're still on International Boulevard.                  Keep
 2   on going.     It's all of the way down south -- down
 3   south -- south.       Keep going.
 4        Q.    Okay.
 5        A.    And there's 83 again.
 6        Q.    So you're right here?
 7        A.    That's a bridge.
 8        Q.    Okay.     So where --
 9        A.    That's 83 -- right there.
10        Q.    Okay.     Which way do you turn on 83?
11        A.    Left.
12        Q.    Okay.     So you're going this way, now?
13        A.    Yes, sir.     That's Guadalupe, that's all that.
14   See, that's H-E-B, Walgreens.
15        Q.    Uh-huh.
16        A.    Keep on going.      Now then, keep on going all
17   83 -- there -- it's that way.           Not this way.       Yes.       And
18   that's -- and that's Zapata, which is 83, the same
19   thing.
20        Q.    Yeah.
21        A.    And it goes all the way down to Zapata.
22        Q.    Okay.
23        A.    From then, you keep on going.           Keep on going,
24   keep on going.       Hold on.     Oh, yeah.     Keep on going.
25   That's Cielito Lindo Boulevard.            Keep on going.

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 1   Mangana, let's keep on going.           Keep on going.       Keep on
 2   going.    That's Molina.       It's Rio Bravo.       Keep on going.
 3   Where are we at?       Yeah.    Yeah.
 4        Q.   Keep on --
 5        A.   Yeah.     All the way down.
 6        Q.   Here's the airport.
 7        A.   There is -- there's no airport there.
 8        Q.   Oh.
 9        A.   Yeah.     That's San Ygnacio and then it's going
10   to be Zapata.
11        Q.   Okay.     So keep on going?
12        A.   Keep on going.
13        Q.   Here's the reservoir.
14        A.   That's Falcon Lake.         Keep on going.      Keep on
15   going.
16        Q.   And here's Zapata.
17        A.   Zapata.     Keep on going.
18        Q.   Right here?
19        A.   Yeah.
20        Q.   So you cross another reservoir?
21        A.   That's part of the same lake, but it's --
22        Q.   It's still Falcon?
23        A.   Yeah.
24        Q.   Okay.     Okay.   So still on 83.
25        A.   And it's around, I guess, more or less, around

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 1   that area.
 2        Q.    So in this general area?
 3        A.    Yeah.
 4        Q.    Is it north or south of Morales-Sanchez?
 5        A.    That's not it.       Keep on going more down.
 6        Q.    There's the town of Falcon?
 7        A.    Yeah, that's -- yeah, the little town.
 8        Q.    So is it south of that?
 9        A.    Yeah, south of that.
10        Q.    Okay.
11        A.    It's around that area.
12        Q.    Okay.    And here's -- well, there's the border
13   right there.
14        A.    Yeah, that's Roma.        That's way -- way --
15        Q.    So it's on Highway -- or off of Highway 83, in
16   between Falcon, Texas, and Roma, Texas?
17        A.    Correct.
18        Q.    Okay.
19        A.    That's probably, like, a two-hour drive.              It
20   all depends on traffic, because over there's it's --
21   it's real bad on the traffic.
22        Q.    (By Mr. Smith)       And, Mr. Juarez, remember
23   you're under oath.        Do you use the farm for any illegal
24   activity?
25        A.    No, sir.

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 1        Q.    Okay.    Do you sell marijuana on the farm?
 2        A.    No, sir.
 3        Q.    Do you grow marijuana on the farm?
 4        A.    No, sir.
 5        Q.    Do you sell any illegal drugs on the farm?
 6        A.    No, sir.
 7        Q.    Do you grow any illegal drugs on the farm?
 8        A.    Do I what?
 9        Q.    Do you grow any illegal drugs on the farm?
10        A.    No, sir.
11        Q.    Remember you're under oath.
12        A.    Yes, sir.
13        Q.    No illegal activity at all on the farm; is that
14   your testimony?
15        A.    Yes, sir.
16        Q.    Okay.    And is it still your testimony that you
17   cannot give me an address to the farm?
18        A.    Yes, sir.
19        Q.    Is there anyone -- can you contact your wife to
20   get the address?
21        A.    No, sir.
22        Q.    Is there anyone you can contact to get the
23   address?
24        A.    No, sir.
25        Q.    Well, you gave information about the farm to

                                    SB Company
